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 HID 010(Rev. 10/16)Transcript Designation & Ordering Form (Appeals)                      is           UNITED STATES DISTRICT COURT
                                                UNITED STATES DISTRICT COURT                               DISTRICT OF HAWAII
                                                     DISTRICT OF HAWAII
ORIGINAL                                                                                                       SEP2 5
                                             Transcript Designation and Ordering Form at ^ ^ o'clock and3& mln, fi M
                                                                                                               If-      m       :




 U.S. Court of Appeals Case No.:19-16870                                   U.S. District Court Case No.:1:18-cv-00502-jao-kjivi
 Short Case Title:                                                 ^ ^     Date Notice of Appeal Filed Q             . qo on-IQ
                        Ya-Wen Hsiao v. Patrick Pizzella, Sec. of Labor
                                                                           by Clerk of District Court:                          ZU ly
 Date Transcript Ordered:                                                  Time Schedule Order
                                                                           Transcript Due Date:
 Attorney Name:Va-Wen Hsiao, Pro Be                                        Address:1141 Hoolai St, Apt 201, Honolulu HI 96814
 Phone Number:8087282646                                                   Email:rabbityhslao@gmall.com

 This form should be used to comply with the Federal Rules of Appellate Procedure and the Local Rules ofthe
 U.S. Court of Appeals for the Ninth Circuit regarding the designation and ordering of court transcripts.

 Please note the specific instructions below. Ifthere are further questions, contact the U.S. District Court Clerk's
 Office.
         1. Please refer to the electronic case file docket to determine the hearing date and the court reporter or
            other method utilized to record the specific court proceedings. Attach additional page of designations, if
            necessary.
      2. File Original with the District Court.
      3. Send a copy to opposing counsel(s). Make additional copies if necessary.
     4.  Send a copy to each court reporter. Contact court reporter(s) to make further arrangements for payment.
         Court reporter contact information can be found at http://www.hid.uscourts.gov.
      5. E-mail orders for transcripts of digital audio recordings of court proceedings(FTR)to
            transcriptsfg,hid.uscourts.gov.
     6. Continue to monitor progress oftranscript preparation. Court reporter contact information can be found
            at http://www.hid.uscourts.gov.


     HEARING DATE(s)                          COURT REPORTER                              PROCEEDINGS(please specify)
         MTD Hearing Date                         Name of reporter                   All proceedings (transcript already ordered
                                                                                    and prepared: this notice is for designation
                                                                                                     purposes only)




 □          I do not intend to designate any portion of the transcript and will notify all counsel of this intention.

 1/1        As retained counsel (or litigant proceeding in pro per), I request a copy of the transcript and guarantee
            payment to the reporter of the cost thereof upon demand. I further agree to pay for work done prior to
            cancellation of this order.


 I   I      As appointed counsel, I certify that an appropriate order authorizing preparation of the transcript at the
            expense of the United States has been, or within 5 days hereof will be, obtained and delivered to the
            reporter. I agree to recommend payment for work done prior to cancellation of this order.

 Attorney Signature:                                                                                   Date:
